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                      IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MINNESOTA
                                          SENTENCING HEARING
UNITED STATES OF AMERICA,                           )          COURT MINUTES - CRIMINAL
                                                    )
                                    Plaintiff,      )    BEFORE:     The Hon. Paul A. Magnuson
                                                    )                United States District Court Judge
                 v.                                 )
                                                    )    Case No:            21-CR-261(1) (PAM/ECW)
JERMAINE DONTAE MORRIS,                             )    Date:               Wednesday, October 5, 2022
                                                    )    Court Reporter:     Carla Bebault
                                    Defendant.      )    Courthouse:         Saint Paul
                                                    )    Courtroom:          7D
                                                    )    Time Commenced:     2:00 p.m.
                                                         Time Concluded:     2:30 p.m.
                                                         Time in Court:      Thirty (30) Minutes

APPEARANCES:

For Plaintiff:         Andy Dunne, USAO (For Justin Wesley)
For Defendant:         Doug Olson, PDA

PROCEEDINGS:
  X Sentencing

IT IS ORDERED:
   Defendant is sentenced to:
Count No.     Plea      Verdict                 BOP           AG         SR            PROB           HA
One (1) of     X                             35 Months                 3 Years
Indictment

    X See J&C for Special Conditions.

    X Defendant sentenced to pay:
       X Special Assessment in the amount of $100.00.

    X Plea and Plea Agreement accepted.

    X Defendant is remanded to the custody of the United States Marshal.

    X Sealed Matters: Sentencing/sealed documents are sealed indefinitely.
Dated: Wednesday, October 5, 2022                                                  s/Lynn L. Magee
                                                                                   Courtroom Deputy to
                                                                                   The Hon. Paul A. Magnuson
